

Maanen v New York Univ. (2022 NY Slip Op 03575)





Maanen v New York Univ.


2022 NY Slip Op 03575


Decided on June 02, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 02, 2022

Before: Manzanet-Daniels, J.P., Kapnick, Shulman, Rodriguez, Higgitt, JJ. 


Index No. 154902/19 Appeal No. 16072 Case No. 2020-03492 

[*1]Robert Maanen etc., et al., Plaintiffs-Respondents,
vNew York University, Defendant-Appellant.


DLA Piper LLP, (US), New York (Joseph A. Piesco, Jr. of counsel), for appellant.
Virginia &amp; Ambinder, LLP, New York (James E. Murphy of counsel), for respondents.



Order, Supreme Court, New York County (Debra A. James, J.), entered on or about July 14, 2020, which denied defendant New York University's motion to compel arbitration and to dismiss the complaint, unanimously affirmed, without costs.
The motion court properly determined that the collective bargaining agreement between defendant and the named plaintiff's Union, Local 810, International Brotherhood of Teamsters, does not evidence a clear and unmistakable intent to defer the question of arbitrability to an arbitrator. Nor does the agreement demonstrate that the parties intended to arbitrate the claims of violation of wage provisions of the Labor Law asserted in the complaint (see Matter of Berger v New York University, __AD3d__, 2022 NY Slip Op 03313 [1st Dept 2022]; Hichez v United Jewish Council of the E. Side,
Home Attendant Serv. Corp., 179 AD3d 576 [1st Dept 2020]; see Lorentti-Herrera v Alliance for Health, Inc., 173 AD3d 596 [1st Dept 2019]). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 2, 2022








